                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN

DANIEL NOVIN, STEWART SWANDER,              )
TIMOTHY BUTLER, REID BEGNOCHE,              )
DUSTIN BROWN, JEFFREY ERKER,                )
SAM KLUMPERS, GARY GRAY,                    )
CHRISTOPHER JOHNSTON, JOSEPH PEREA, )
BRIAN REIS, MARK ZIP, PATRICK MOONEY, )
DAVID HOWZE, SCOTT McCOLLAM,                )
MATT CARVILLE, RICKY SCOTT,                 )
MICHAEL MIGLIACCIO, KEITH WAHL,             )
ANDREW HUNTZINGER,                          )
WILLIAM ROBERTS, and FROILAN GARMA )
on behalf of themselves individually        )
and all other similarly situated employees, )
                                            )
        Plaintiffs,                         )
                                            )
vs.                                         )              Case No. 24-CV-00046
                                            )
JOHNSON CONTROLS, INC.                      )
                                            )
        Defendant.                          )

                         AMENDED CLASS ACTION COMPLAINT

       For their Amended Class Action Complaint, pursuant to Rule 15(a)(1), Daniel Novin,

Stewart Swander, Timothy Butler, Reid Begnoche, Dustin Brown, Jeffrey Erker, Sam Klumpers,

Gary Gray, Christopher Johnston, Joseph Perea, Brian Reis, Mark Zip, Patrick Mooney, David

Howze, Scott McCollam, Matt Carville, Rick Scott, Michael Migliaccio, Keith Wahl, Andrew

Huntzinger, William Roberts, and Froilan Garma (the “Named Plaintiffs”), on behalf of

themselves individually and all other similarly situated employees of Defendant Johnson Controls,

Inc. (“Johnson Controls”), state as follows:




          Case 2:24-cv-00046-PP Filed 02/08/24 Page 1 of 37 Document 8
                                       INTRODUCTION

        1.      The Named Plaintiffs bring this action in their individual capacities and on behalf

of a nationwide class of similarly situated salespersons employed by Johnson Controls in

connection with a new incentive plan that robs the Named Plaintiffs and the class of millions of

dollars of incentives and commissions that Johnson Controls had previously agreed to pay them

for contracts that the Named Plaintiffs procured and closed.

        2.      For the last couple of decades at least, Johnson Controls had paid incentives (i.e.

commissions arising out of contracts that the salespersons closed) to its salespersons (of which the

Named Plaintiffs are but a few) at generally regular intervals over the course of the project or

contract at issue.

        3.      Under this system, the Named Plaintiffs would receive an initial commission

payment of approximately 20-25% of the overall commission shortly after closing the contract.

Over the life of the project, Johnson Controls would then pay the remaining 75-80% of the

salespersons’ commissions. In salesperson lingo, the portion of their commission remaining to be

paid was referred to as a “backlog.”

        4.      Over the years, the Named Plaintiffs accumulated substantial backlogs—ranging

from a few thousand dollars to backlogs well into the six figures—of commissions or incentives

that Johnson Controls had agreed to pay them over the course of various contracts and projects.

        5.      Under the payment plans in place prior to October 1, 2023, if a Named Plaintiff

procured and closed a contract that called for customer payments to be made over the course of

multiple fiscal years, Johnson Controls agreed to pay the Named Plaintiffs commissions or

incentives under the payment plan in effect at the time the contract was closed.




                                                 2

             Case 2:24-cv-00046-PP Filed 02/08/24 Page 2 of 37 Document 8
       6.      This “grandfathering” provision—as Johnson Controls called it—ensured that the

Named Plaintiffs earned commissions or incentives on work that they performed commensurate

with their expectations at the time the work was performed.

       7.      If the Named Plaintiffs closed a contract in 2021 that they expected to net them a

total incentive or commission of $10,000 over the course of the company’s next two fiscal years,

the grandfathering provision made sure that, even if Johnson Controls changed the overall

compensation plan for a subsequent fiscal year, it was still agreeing to abide by the terms of the

deal it had in place with the salesperson when the sale was closed in 2021. With this grandfathering

provision, the Named Plaintiffs had some assurance that Johnson Controls would abide by the

terms of its incentive agreement and pay the salesperson the $10,000 commission (subject to

adjustments) that the parties had contemplated when the contract had closed.

       8.      This grandfathering provision also served to provide the Named Plaintiffs with

some assurance as to their future salary. They understood that, while the timeframe within which

they would receive their backlog might stretch over the course of several months or even years,

they nonetheless could bank on a very high percentage of their accrued backlog being paid to them.

Naturally, the Named Plaintiffs took their expected backlogs into their and their families’ financial

planning and futures.

       9.      In November 2023, Johnson Controls announced that, though it was going to

continue servicing the contracts and working on the projects under which an apparent record $12.1

billion dollars in backlog were due to be paid to the company, and though it was planning on

accepting payment from its customers for the billions of dollars in backlog that are owed, Johnson

Controls was reneging on its promise to pay the Named Plaintiffs and their similarly situated




                                                 3

            Case 2:24-cv-00046-PP Filed 02/08/24 Page 3 of 37 Document 8
colleagues across the country the incentives and commissions that made up the Named Plaintiffs’

backlogs.

       10.     Inexplicably, Johnson Controls removed the grandfathering provision that ensured

a basic fairness in the commission structure under which the Named Plaintiffs and Johnson

Controls operated. Johnson Controls will assuredly attempt to hold its customers to the project and

service agreements that they signed, and the customers will continue to pay Johnson Controls

billions of dollars in backlog that Johnson Controls and its shareholders will benefit from.

       11.     However, because of the new FY24 incentive plan, the Named Plaintiffs—the

salespersons who procured and closed the contracts at issue, and who earned the incentive or

commission attached to those contracts—will see none of their accrued backlog. Their financial

futures are now in jeopardy.

       12.     Accordingly, the Named Plaintiffs bring the various claims below—as individuals

and on behalf of their colleagues across the country—to recover the millions of dollars of damage

that Johnson Controls has caused.

                                            PARTIES

       13.     Plaintiff Daniel Novin is employed as an Account Executive by Johnson Controls,

a position he has held since 2011. Novin resides in Overland Park, Kansas, and works out of

Johnson Controls’ office in Lenexa, Kansas.

       14.     Plaintiff Stewart Swander has been employed by Johnson Controls since March

2019 as a Field Sales Executive I. Swander resides in Olathe, Kansas, and works out of Johnson

Controls’ office in Lenexa, Kansas.




                                                 4

            Case 2:24-cv-00046-PP Filed 02/08/24 Page 4 of 37 Document 8
       15.     Plaintiff Timothy Butler is employed as an Account Executive by Johnson

Controls, a position he has held since approximately 2004. Butler resides in Overland Park,

Kansas, and works out of Johnson Controls’ office in Lenexa, Kansas.

       16.     Plaintiff Reid Begnoche is employed as an Account Executive by Johnson Controls,

a position he has held since 2013. Begnoche resides in Olathe, Kansas, and works out of Johnson

Controls’ office in Lenexa, Kansas.

       17.     Plaintiff Dustin Brown is employed as an Account Executive by Johnson Controls,

a position he has held since 2003. Brown resides in Nixa, Missouri, and works out of Johnson

Controls’ office in Springfield, Missouri.

       18.     Plaintiff Jeffrey Erker is employed as an Account Executive by Johnson Controls,

a position he has held since 1998. Erker resides in Chesterfield, Missouri, and works out of Johnson

Controls’ office in St. Louis, Missouri.

       19.     Plaintiff Sam Klumpers is employed as an Account Executive by Johnson Controls.

Klumpers resides in Cottage Grove, Wisconsin, and works out of Johnson Controls’ office in

Madison, Wisconsin.

       20.     Plaintiff Gary Gray is employed as an Account Executive by Johnson Controls.

Gray resides in Kingsport, Tennessee, and works out of Johnson Controls’ office in Johnson City,

Tennessee.

       21.     Christopher Johnston is employed as an Account Executive by Johnson Controls.

Johnston resides in Johnson City, Tennessee and works out of Johnson Controls’ office in Johnson

City, Tennessee.




                                                 5

          Case 2:24-cv-00046-PP Filed 02/08/24 Page 5 of 37 Document 8
       22.     Joseph Perea is employed as an Account Executive by Johnson Controls. Perea

resides in Albuquerque, New Mexico and works out of Johnson Controls’ office in Albuquerque,

New Mexico.

       23.     Brian Reis is employed as an Account Executive by Johnson Controls. Reis resides

in Mt. Pleasant, South Carolina and works out of Johnson Controls’ office in Charleston, South

Carolina.

       24.     Mark Zip is employed as an Account Executive by Johnson Controls. Zip resides

in Beaufort, South Carolina and works out of Johnson Controls’ office in Charleston, South

Carolina.

       25.     Patrick Mooney is employed as an Account Executive by Johnson Controls.

Mooney resides in Justin, Texas and works in the Dallas/Fort Worth, Texas region.

       26.     David Howze is employed as an Account Executive by Johnson Controls. Howze

resides in Lewisville, Texas and works in the Dallas/Fort Worth, Texas region.

       27.     Scott, McCollam is employed as an Account Executive by Johnson Controls.

McCollam resides in Southlake, Texas and works in the Dallas/Fort Worth, Texas region.

       28.     Matt Carville is employed as an Account Executive by Johnson Controls. Carville

lives in Houston, Texas and works in the Houston, Texas region.

       29.     Ricky Scott is employed as an Account Executive by Johnson Controls. Scott lives

in Prattville, Alabama and works out of Johnson Controls’ office in Montgomery, Alabama.

       30.     Michael Migliaccio is employed as an Account Executive by Johnson Controls.

Migliaccio lives in Gainesville, Georgia and works out of Johnson Controls’ office in Atlanta,

Georgia.




                                               6

            Case 2:24-cv-00046-PP Filed 02/08/24 Page 6 of 37 Document 8
       31.     Keith Wahl is employed as an Account Executive by Johnson Controls. Wahl lives

in Varysburg, New York and works for Johnson Controls in western New York.

       32.     Andrew Huntzinger is employed as an Account Executive by Johnson Controls.

Huntzinger lives in Indianapolis, Indiana and works out of Johnson Controls’ office in

Indianapolis, Indiana.

       33.     William Roberts is employed as an Account Executive by Johnson Controls.

Roberts lives in Parker, Colorado and works out of Johnson Controls’ office in Aurora, Colorado.

       34.     Froilan Garma is employed as an Account Executive by Johnson Controls. Garma

lives in Ewa Beach, Hawaii and works out of Johnson Controls’ office in Honolulu, Hawaii.

       35.     While the Named Plaintiffs have and have had a range of job titles during their

employment with Johnson Controls, they all perform similar jobs—selling equipment and projects

to Johnson Controls’ clients within their region.

       36.     Defendant Johnson Controls, Inc. (“Johnson Controls,” or “Defendant”) is the

United States-based subsidiary of Johnson Controls International, Inc. Johnson Controls maintains

its principal place of business at 5757 N. Green Bay Avenue, Milwaukee, Wisconsin 53209.

Johnson Controls can be served through its Registered Agent, C T Corporation System, at 301 S.

Bedford Street, Suite 1, Madison, Wisconsin 53703.

                                JURISDICTION AND VENUE

       37.     The Named Plaintiffs bring class action claims for breach of contract, breach of the

covenant of good faith and fair dealing, and unjust enrichment, as well as claims for violations of

various state wage payment statutes.

       38.     This Court has original federal question jurisdiction over this prospective class

action under 28 U.S.C. § 1332(d) because the sum in controversy exceeds $5,000,000 exclusive


                                                    7

          Case 2:24-cv-00046-PP Filed 02/08/24 Page 7 of 37 Document 8
of interests and costs, and all but one of the Named Plaintiffs and most of the prospective Class

Members are citizens of a state different than Defendant Johnson Controls.

       39.     The venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because

Defendant is a resident of this judicial district, and because a substantial part of the events or

omissions giving rise to Plaintiff’s claims occurred in this district.

                                   FACTUAL ALLEGATIONS

       40.     Defendant Johnson Controls is a Wisconsin for-profit corporation. It is a subsidiary

of Johnson Controls International, a multinational conglomerate based in Cork, Ireland with its

North American headquarters in Wisconsin.

       41.     Johnson Controls operates over 200 locations across the United States. It employs

several hundred commissioned salespersons across the United States in commissioned sales

positions substantially similar to the positions held by the Named Plaintiffs.

       42.     At all relevant times, the Named Plaintiffs and all others similarly situated were

commissioned salespersons employed by Defendant.

       43.     Plaintiffs Novin, Swander, Butler, and Begnoche sell equipment and projects to

Johnson Controls clients in the Kansas City district, which includes clients in both Kansas and

Missouri.

       44.     Plaintiff Brown sells equipment and projects to Johnson Controls clients in the

Springfield, Missouri district.

       45.     Plaintiff Erker sells equipment and projects to Johnson Controls clients in the St.

Louis, Missouri district.

       46.     Plaintiffs Klumpers, Gray, Johnston, Perea, Reis, Zip, Mooney, Howze, McCollam,

Carville, Scott, Migliaccio, Wahl, Huntzinger, Roberts, and Garma sell equipment and projects to


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            Case 2:24-cv-00046-PP Filed 02/08/24 Page 8 of 37 Document 8
Johnson Controls clients in Wisconsin, Tennessee, New Mexico, South Carolina, Texas, Alabama,

Georgia, New York, Indiana, Colorado, and/or Hawaii.

Sales Process

        47.     From the time a prospective client is identified, the process for the Named Plaintiffs

of engaging a client, developing a proposal, and pitching and selling it to the client generally takes

several months.

        48.     Once a project is sold, the Named Plaintiffs hand the project off to Defendant’s

operations team to execute the project. At that point, the Named Plaintiffs’ work on the project is

largely complete, outside of answering the occasional client question.

        49.     The process laid out above—from prospective client identification through sale and

handing off of the project to the operations team—was and is the same for all of Defendant’s

commissioned salespersons, regardless of their specific job title, within its Fire, Security, and

HVAC divisions.

Historic Commission Structure and the “Backlog”

        50.     The Named Plaintiffs and all other similarly situated employees of Defendant

operate under a commission sales incentive plan (the “Plan”).

        51.     From the time each of the Named Plaintiffs’ respective employment periods began

with Johnson Controls through the end of Defendant’s fiscal year ending on September 30, 2023

(“FY23”), the Plan was slightly modified each year, but its general structure remained largely the

same.

        52.     Whenever one of the Named Plaintiffs completed a sale, he could expect to receive

between 6.5% and 7.0% of the profit margin on that sale as commission, which Johnson Controls

refers to as an “incentive.”


                                                  9

           Case 2:24-cv-00046-PP Filed 02/08/24 Page 9 of 37 Document 8
       53.     For example, if one of the Named Plaintiffs sold a $1 million project on which

Johnson Controls made a $300,000 profit, the Named Plaintiff could expect to receive incentives

(i.e., commissions) between roughly $19,500 and $21,000 for that project.

       54.     The Named Plaintiff would typically receive around 25% of the expected incentive

on a project upon completion of the sale. In the above example, that initial payment would be

between roughly $4,875 and $5,250.

       55.     The remaining incentive—in the above example, between $14,625 and $15,750—

was referred to as the salesperson’s “backlog.”

       56.     The backlog for the Named Plaintiff was paid out over time as the operations team

completed the project and the client paid for services rendered. Johnson Controls referred to these

periodic payments as “Monthly Incentives.”

       57.     Payment to the salesperson of the final portion of the backlog—called the “Closeout

Incentive”—on a given project was made at or shortly after the time the client made their final

payment.

       58.     At the time of this final payment, the backlog would be “trued up,” such that the

salesperson’s total incentive on the project equaled the percentage of the profit margin set forth in

the Plan. If a project went over or under on projected costs at the time of the sale, the final backlog

payment could be smaller or larger than initially anticipated, respectively.

       59.     Averaged out across projects, salespersons could and did expect to receive total

incentive payments in an amount very close to their initially estimated backlog.

       60.     The exact numbers and percentages above are only one example and may vary

slightly across the company or year to year. However, the core facts of the above-described process

of incentive calculation, accrual of the backlog, and payout over time applied equally to Plaintiff


                                                  10

           Case 2:24-cv-00046-PP Filed 02/08/24 Page 10 of 37 Document 8
Novin, the other Named Plaintiffs, and to all other similarly situated employees of the Defendant

within Defendant’s Fire, Security, and HVAC divisions.

       61.     The Named Plaintiffs understood that their sales incentive plan may vary

somewhat—or possibly even significantly—prospectively from one year to the next. However,

they also had an understanding that Defendant would not, and so far as they knew could not,

retroactively eliminate their expected commissions on deals they had closed under prior versions

of the incentive plan.

Transition to the FY24 Commission Sales Plan

       62.     Prior to the rollover from FY23 to the Fiscal Year 2024 (October 1, 2023 –

September 30, 2024, “FY24”), Johnson Controls had a practice of paying out its salespersons’

backlog under the incentive plan that was effective in the year a sale was made.

       63.     Johnson Controls referred to this practice as “Grandfathered’ Contracts” and

agreed, for example, in FY23, that “All open contracts secured prior to the effective date of this

plan [October 1, 2022] will not earn sales incentive under this Plan and will be paid in accordance

with the plan in effect at time of booking.” The same or similar language appears in prior versions

of the Plan, dating back at least to FY16.

       64.     For example, if a commissioned salesperson made a sale in FY21 and a portion of

their incentive on that sale was backlogged (as was the case with the majority of contracts) and

paid out over the course of the next two years (FY22 and FY23), that backlogged incentive was

paid out under the terms of the FY21 Plan.

       65.     Commissioned salespersons, including the Named Plaintiffs, could and did

understand that part of their agreement with Johnson Controls was that they would be paid

commissions under the Plan in effect the year a sale was made.


                                                11

          Case 2:24-cv-00046-PP Filed 02/08/24 Page 11 of 37 Document 8
        66.        Commissioned salespersons, including the Named Plaintiffs, could and did make

significant financial and life decisions based on the expected payout of their backlogged

commission over time in accordance with that agreement.

Fiscal Year 2024 Plan

        67.        In November 2023, Johnson Controls announced the sales incentive compensation

plan for FY24. The FY24 Plan purported to be retroactive to October 1, 2023.

        68.        The FY24 Plan completely overhauled the general commission system outlined

above that had been in place, with only minimal tweaks, for several years. Defendant characterized

the change as a “full sales incentive plan redesign.”

        69.        In particular, the FY24 Plan eliminates use of the backlog, shifting to a plan where

commission is earned and paid out at the time a project is booked, rather than over time as the

project is paid.

        70.        Unlike with Plan changes in previous years, Defendant unilaterally determined that

commission for any sales made during previous years under prior versions of the Plan would not

continue to be governed by the plans in effect at the time of the sale.

        71.        Instead, all sales, including those made prior to adoption of the FY24 Plan, would

be governed by the FY24 Plan.

        72.        This new policy meant that salespersons’ accrued backlog—which the salespeople

had done the work to earn, and which Johnson Controls had previously agreed to pay its

salespeople over the time that the project took to complete—would no longer be paid out.

        73.        The accrued backlogs benefit Defendant, adding to Defendant’s balance sheet and

profit margin, unless and until they are paid out to the Named Plaintiff’s and similarly situated

commissioned salespersons.


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          Case 2:24-cv-00046-PP Filed 02/08/24 Page 12 of 37 Document 8
       74.     The accrued backlogs were built through the hard work of the named Plaintiffs and

others similarly situated.

       75.     Defendant previously recognized the commissioned salespersons’ hard work by

paying them their accrued backlogs as envisioned by the incentive compensation plans.

       76.     With the transition to the FY24 Plan and the accompanying decision to treat the

backlogs as unearned and eliminate them, Defendant determined that it would retain the backlogs

and keep and use that benefit for itself.

       77.     In its most recent Form 10-K, Johnson Controls represented that its backlog was

$13.6 billion, and that “backlog is a useful measure of evaluating the Company’s operational

performance and relationship to total orders.”

       78.     In announcing the new plan, Johnson Controls represented that, “Sales booked prior

to October 1, 2023, which have not reached the required milestones for commission eligibility are

not earned or due for payment.”

       79.     As part of the FY24 Plan, and to apparently “assist” the Named Plaintiffs and those

similarly situated with what Johnson Controls termed a “transition” to the new Plan, Johnson

Controls made a “one time bridge payment” to its commissioned salespersons that was “not meant

to substitute for unearned commissions” (i.e., backlogs).

       80.     When bridge payments were made in November 2023, the payments constituted

22% of their backlog for each of the Named Plaintiffs.

On information and belief, all employees similarly situated to the Named Plaintiffs also received

bridge payments equal to 22% of their accrued backlog.




                                                 13

          Case 2:24-cv-00046-PP Filed 02/08/24 Page 13 of 37 Document 8
Backlog Information is Wiped from Employee Portals

        81.       Shortly after the transition to the FY24 Plan was announced, several of the Named

Plaintiffs began attempting to preserve information about their then-existing backlogs.

        82.       Within a day or two of the announced change, however, they discovered that all

information about their backlogs that had previously been in their employee portals had been

wiped out and was no longer available.

        83.       In addition, Defendant has not provided copies of the full FY23 Plan or FY24 Plan

to its commissioned salespersons, even upon request by the employees. Instead, employees only

have a slideshow presentation that claims to be a summary of the Plans.

        84.       Since the transition to the FY24 Plan purported to take effect on October 1, 2023,

prior to the Plan’s mid-November rollout, portions of the backlog for each Named Plaintiff would

have been due to be paid out under the previously operative Plans the backlogged incentives were

accrued under. Those portions of the backlog have been retained by Defendant and not paid to the

Plaintiffs.

Johnson Controls Requires New Restrictive Covenant for Salespersons to Obtain Additional
“Bridge” Payments in 2025 and 2026

        85.       Following its announcement that it was eliminating the backlogs that it had

previously agreed to pay its salespersons—including the Named Plaintiffs and all that are

similarly-situated to them—Johnson Controls received significant opposition to the new plan from

its salespersons.

        86.       In response to the backlash, in early December 2023, Johnson Controls offered two

additional “bridge” payments to the Named Plaintiffs and all others similarly situated.




                                                  14

              Case 2:24-cv-00046-PP Filed 02/08/24 Page 14 of 37 Document 8
       87.     The “Sales Bridge Retention Payment” program, as Johnson Controls called it,

provided the Named Plaintiffs (and all others similarly situated) with “up to two additional bridge

retention payments,” one in June 2025 and another in June 2026.

       88.     Each of the two payments offered under the Sales Bridge Retention Payment totaled

14% of the Named Plaintiffs’ backlog.

       89.     Receipt of these payments—in June 2025 and June 2026—was conditioned, in part,

on the Named Plaintiffs remaining an “Active Employee” of Johnson Controls during the interim.

       90.     Additionally, Johnson Controls conditioned receipt of this portion of the backlog

on the Named Plaintiffs agreeing to “work[] diligently to perform his or her duties” through the

retention period, to receive at least a “Meets Expectations” performance review, and to

acknowledge being bound by a set of Terms and Conditions that contained, among other

provisions: (a) a Non-Competition provision that sought to restrict the Named Plaintiffs for one

year from leaving Johnson Controls and joining a competitive business; and (b) a Non-Solicitation

provision that sought to preclude the Named Plaintiffs from recruiting any other Johnson Controls

employees from leaving the company, and more importantly, from soliciting the business of

Johnson Controls’ customers.

       91.     Put differently, Johnson Controls conditioned receipt of the backlogs accrued in

past fiscal years on the Named Plaintiffs and those similarly situated agreeing to continuing to

work at Johnson Controls with additional restrictive covenants that would limit the Named

Plaintiffs’ ability to find work after they left Johnson Controls.

Backlogs as of September 30, 2023

       92.     Novin. As of the end of FY23, Novin’s backlog totaled $40,570.15. Exhibit A,

which has been redacted, reflects the various contracts that Novin closed during prior fiscal years,


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          Case 2:24-cv-00046-PP Filed 02/08/24 Page 15 of 37 Document 8
the status of those contracts, the incentives that Johnson Controls had originally agreed to pay

Novin for the project, and how much of those incentives had been paid to Novin as of September

30, 2023.

       93.      As evidenced by Exhibit A, Novin’s backlog encompasses contracts that Novin

closed during the last few fiscal years, with many of the incentives remaining for prior fiscal years

2021 and 2022.

       94.      As an example, on one contract (Contract No. 1N420172) that Novin closed in the

Spring of 2021, his estimated total incentive earned under the Plan in place during that fiscal year

was $4,786.49.

       95.      As of September 30, 2023, Johnson Controls had only paid Novin a total of

$3,424.82, leaving a “remaining incentive” of $1,360.67—over 28% of the promised commission

for the project—for that project that Johnson Controls had agreed to pay Novin as the project made

its way to completion.

       96.      On information and belief, Johnson Controls will continue to receive payments

from its customers on the contracts after October 1, 2023 reflected on Exhibit A that, in prior fiscal

years, would have then been paid to Novin as an incentive.

       97.      Swander. As of the end of FY23, Swander’s backlog totaled $66,608.88. Exhibit

B, which has been redacted, reflects the various contracts that Swander closed during prior fiscal

years, the status of those contracts, the incentives that Johnson Controls had originally agreed to

pay Swander for the project, and how much of those incentives had been paid to Swander as of

September 30, 2023.




                                                 16

            Case 2:24-cv-00046-PP Filed 02/08/24 Page 16 of 37 Document 8
       98.      As evidenced by Exhibit B, Swander’s backlog encompasses contracts that

Swander closed during the last few fiscal years, with many of the incentives remaining for prior

fiscal years 2021 and 2022.

       99.      As an example, on one contract (Contract No. 1N420365) that Swander closed in

the Fall of 2021, his estimated total incentive earned under the Plan in place during that fiscal year

was $5,279.20.

       100.     As of September 30, 2023, Johnson Controls had only paid Novin a total of

$3,825.98, leaving a “remaining incentive” of $1,453.22—over 27.5% of the promised

commission for the project—for that project that Johnson Controls had agreed to pay Swander as

the project made its way to completion.

       101.     On information and belief, Johnson Controls will continue to receive payments

from its customers on the contracts after October 1, 2023 reflected on Exhibit B that, in prior fiscal

years, would have then been paid to Swander as an incentive.

       102.     Butler. As of the end of FY23, Butler’s backlog totaled $65,814.69. Exhibit C,

which has been redacted, reflects the various contracts that Butler closed during prior fiscal years,

the status of those contracts, the incentives that Johnson Controls had originally agreed to pay

Butler for the project, and how much of those incentives had been paid to Butler as of September

30, 2023.

       103.     As evidenced by Exhibit C, Butler’s backlog encompasses contracts that Butler

closed during the last few fiscal years, with many of the incentives remaining for prior fiscal years

2021 and 2022.




                                                 17

            Case 2:24-cv-00046-PP Filed 02/08/24 Page 17 of 37 Document 8
       104.    As an example, on one contract (Contract No. 1N420145) that Butler closed in the

Fall of 2021, his estimated total incentive earned under the Plan in place during that fiscal year

was $11,070.53.

       105.    As of September 30, 2023, Johnson Controls had only paid Butler a total of

$8,079.95, leaving a “remaining incentive” of $2,990.58—over 37% of the promised commission

for the project—for that project that Johnson Controls had agreed to pay Butler as the project made

its way to completion.

       106.    On information and belief, Johnson Controls will continue to receive payments

from its customers on the contracts after October 1, 2023 reflected on Exhibit C that, in prior fiscal

years, would have then been paid to Butler as an incentive.

       107.    Begnoche. As of the end of FY23, Begnoche’s backlog totaled $63,688.32. Exhibit

D, which has been redacted, reflects the various contracts that Begnoche closed during prior fiscal

years, the status of those contracts, the incentives that Johnson Controls had originally agreed to

pay Begnoche for the project, and how much of those incentives had been paid to Begnoche as of

September 30, 2023.

       108.    As evidenced by Exhibit D, Begnoche’s backlog encompasses contracts that

Begnoche closed during the last few fiscal years, with many of the incentives remaining for prior

fiscal years 2021 and 2022.

       109.    As an example, on one contract (Contract No. 2N420383) that Begnoche closed in

the Summer of 2022, his estimated total incentive earned under the Plan in place during that fiscal

year was $14,518.50.

       110.    As of September 30, 2023, Johnson Controls had only paid Begnoche a total of

$12.793.68, leaving a “remaining incentive” of $1.724.82—almost 12% of the promised


                                                 18

          Case 2:24-cv-00046-PP Filed 02/08/24 Page 18 of 37 Document 8
commission for the project—for that project that Johnson Controls had agreed to pay Begnoche as

the project made its way to completion.

       111.     On information and belief, Johnson Controls will continue to receive payments

from its customers on the contracts after October 1, 2023 reflected on Exhibit D that, in prior fiscal

years, would have then been paid to Begnoche as an incentive.

       112.     Brown. As of the end of FY23, Brown’s backlog totaled $71,119.74. Exhibit E,

which has been redacted, reflects the various contracts that Brown closed during prior fiscal years,

the status of those contracts, the incentives that Johnson Controls had originally agreed to pay

Brown for the project, and how much of those incentives had been paid to Brown as of September

30, 2023.

       113.     As evidenced by Exhibit E, Brown’s backlog encompasses contracts that Brown

closed dating back to fiscal year 2020.

       114.     As an example, on one contract (Contract No. 0N570057) that Brown closed in

2020, his estimated total incentive earned under the Plan in place during that fiscal year was

$10,227.47.

       115.     As of September 30, 2023, Johnson Controls had only paid Brown a total of

$7,552.26, leaving a “remaining incentive” of $2,675.21—over 26% of the promised commission

for the project—for that project that Johnson Controls had agreed to pay Brown as the project

made its way to completion.

       116.     On information and belief, Johnson Controls will continue to receive payments

from its customers on the contracts after October 1, 2023 reflected on Exhibit E that, in prior fiscal

years, would have then been paid to Brown as an incentive.




                                                 19

            Case 2:24-cv-00046-PP Filed 02/08/24 Page 19 of 37 Document 8
       117.     Erker. As of the end of FY23, Erker’s backlog totaled $176,626.38. Exhibit F,

which has been redacted, reflects the various contracts that Erker closed during prior fiscal years,

the status of those contracts, the incentives that Johnson Controls had originally agreed to pay

Erker for the project, and how much of those incentives had been paid to Erker as of September

30, 2023.

       118.     As evidenced by Exhibit F, Erker’s backlog encompasses contracts that Erker

closed during the last few fiscal years, with many of the incentives remaining for prior fiscal years

2021 and 2022.

       119.     As an example, on one contract (Contract No. 2N100139) that Erker closed in early

2022, his estimated total incentive earned under the Plan in place during that fiscal year was

$30,082.02.

       120.     As of September 30, 2023, Johnson Controls had only paid Novin a total of

$10,520.01, leaving a “remaining incentive” of $19,562.01—over 65% of the promised

commission for the project—for that project that Johnson Controls had agreed to pay Erker as the

project made its way to completion.

       121.     On information and belief, Johnson Controls will continue to receive payments

from its customers on the contracts after October 1, 2023 reflected on Exhibit F that, in prior fiscal

years, would have then been paid to Erker as an incentive.

       122.     Johnson Controls maintained contract incentive logs for the other Named Plaintiffs,

including Plaintiffs Klumpers, Gray, Johnston, Perea, Reis, Zip, Mooney, Howze, McCollam,

Carville, Scott, Migliaccio, Wahl, Huntzinger, Roberts, Garma, and all other similarly situated

employees, similar to the logs attached as Exhibits A-F.




                                                 20

            Case 2:24-cv-00046-PP Filed 02/08/24 Page 20 of 37 Document 8
       123.    As with Exhibits A-F, the contract incentive logs for each other Named Plaintiff

and those similarly situated reflect contracts that those Plaintiffs were credited with closing, the

amount of commission received on the project to date, and the backlogged commission still owed

to the Plaintiff by Johnson Controls.

       124.    In each case, on information and belief, Johnson Controls will continue to receive

payments from its customers on the contracts reflected in the logs that, in prior fiscal years—and

absent a bad faith elimination of the “grandfathering provision”—would have been paid, at least

in part, to the Named Plaintiffs and those similarly situated as incentive compensation.

Class Allegations

       125.    Plaintiffs bring all counts as a class action on behalf of themselves and all others

similarly situated pursuant to Fed. R. Civ. P. 23. The Nationwide Class that the Named Plaintiffs

seek to represent is composed of and defined as follows:

       “All individuals currently or formerly employed by Defendant Johnson Controls as
       commissioned salespersons with accrued backlogs who were employed on October
       1, 2023.”

       126.    Plaintiffs also bring state statutory claims under Kansas, Missouri, Wisconsin,

South Carolina, Alabama, New York, Indiana, Colorado, and Hawaii law, on behalf of themselves

individually and others similarly situated. Some of the Plaintiffs from particular states seek to

represent sub-classes of the above-defined Nationwide Class, consisting of members of the

Nationwide Class who are employed in each listed state, respectively.

       127.    Numerosity. Johnson Controls employs at least several hundred commissioned

salespersons across the United States at any given time, including at the time of the transition

between the FY23 and FY24 Plans (October 1, 2023). Class members are therefore far too

numerous to be individually joined in this lawsuit.


                                                21

          Case 2:24-cv-00046-PP Filed 02/08/24 Page 21 of 37 Document 8
       128.   Existence and Predominance of Common Questions. Common questions of law

and/or fact exist as to the members of the Class, and common questions of law and/or fact

predominate over any questions affecting only individual members of the Class. The common

questions include the following:

       a.     Whether members of the Nationwide Class had contractual relationships with the
       Defendant, whereby the Class Members were obligated to perform their duties and
       responsibilities as salespersons for Defendant in exchange for, among other things, a
       compensation plan that provided for commissions or incentives to be paid to the
       salespersons for sales that Defendant credited them with closing, and to be paid over the
       course of the projects or deals closed;

       b.      Whether Defendant agreed to pay the Class Members for services performed in
       accordance with the terms of compensation plans that were in effect during the fiscal years
       at issue;

       c.      Whether Defendant breached its agreements with the Class Members by
       eliminating the backlog of commissions that the Class Members had established under
       prior years’ fiscal year’s compensation plans;

       d.     Whether Defendant breached its agreements with the Class Members when it
       refused to pay commissions according to the compensation plans that were in existence
       when the Class Members sold Defendant’s products and services (i.e., when the contracts
       were closed);

       e.     Whether Defendant breached its contract with the Class Members by retroactively
       changing the contract in mid-November 2023 with changes that purported to take effect on
       October 1, 2023;

       f.      Whether Defendant breached its contract with the Class Members by retroactively
       eliminating backlogged commissions that the Class Members had done all the work within
       their control to earn under prior fiscal year compensation plans;.

       g.      Whether Defendant breached the covenant of good faith and fair dealing by
       unilaterally interpreting its reserved right to “modify” the compensation plan to allow for
       elimination of commission payments that the Defendant had previously agreed to pay the
       Class Members for closed contracts and that the Class Members had done everything in
       their control to earn;

       h.     Whether Defendant breached the covenant of good faith and fair dealing by
       eliminating the “Grandfathering Provision” that had been within every other compensation
                                               22

         Case 2:24-cv-00046-PP Filed 02/08/24 Page 22 of 37 Document 8
         plan for decades and that ensured that the Named Plaintiffs’ incentives accrued under prior
         years’ payment plans would, in fact, be paid out to them even as the payment plans could
         change prospectively;

         i.      Whether Defendant breached the covenant of good faith and fair dealing by
         exercising its discretion under the Plans in a manner that robbed Plaintiffs of the benefit of
         their bargain by modifying conditions—the backlog, the time over which incentives would
         be paid out, and the Grandfathered Contracts provision—that were uniquely within the
         control of Defendant;

         j.      Whether Defendant’s decision to retain the backlogs of its commissioned
         salespersons for itself has caused Defendant to be unjustly enriched by enjoying the benefit
         of labor for which it did not pay; and

         k.      Whether the Named Plaintiffs and the Class Members are entitled to damages
         and/or equitable relief, including but not limited to restitution, disgorgement, and a
         preliminary and/or permanent injunction, and if so, the proper measure and formulation of
         such relief.

         129.   Typicality. The Named Plaintiffs’ claims are typical of the claims of the Class.

Defendant’s common course of conduct and violations of law alleged herein has been taken as to

each Class Member and has caused the Class to sustain the same or similar injuries and damages.

Plaintiffs’ claims are thereby representative of and coextensive with the claims of the proposed

class.

         130.   Adequacy. Plaintiffs are adequate representatives of the Class because their

interests do not conflict with the interests of the members of the class they seek to represent.

Plaintiffs have retained counsel competent and experienced in complex class action litigation, and

Plaintiffs intend to prosecute this class action vigorously. Plaintiffs and their counsel will fairly

and adequately protect the interests of members of the Class.

         131.   Superiority. The class action is superior to other available means for the fair and

efficient adjudication of this dispute. The injury suffered by each member of the Class, while

meaningful on an individual basis, is not of such magnitude as to make the prosecution of


                                                  23

           Case 2:24-cv-00046-PP Filed 02/08/24 Page 23 of 37 Document 8
individual claims against Defendant economically feasible. Individualized litigation increases the

delay and expense to all parties and the court system presented by the legal and factual issues in

this case. By contrast, the class action device presents far fewer management difficulties and

provides the benefits of single adjudication, economy of scale, and comprehensive supervision by

a single court.

       132.       In the alternative, the Class may be certified because: (a) the prosecution of separate

actions by the individual members of the Class would create a risk of inconsistent or varying

adjudication with respect to individual members of the Class, which would establish incompatible

standards of conduct for Johnson Controls; and (b) Johnson Controls has acted or refused to act

on grounds generally applicable to the Class, thereby making appropriate final and injunctive relief

with respect to the members of the Class as a whole.

                              COUNT I – BREACH OF CONTRACT

       133.       The Named Plaintiffs repeat the allegations above as if fully set forth herein.

       134.       Defendant established a valid, enforceable contact with the Named Plaintiffs and

all those similarly situated such that in exchange for the salespersons selling Defendant’s goods

and services to its clients, Defendant would pay the commissioned salespersons a commission or

incentive according to the Commission Sales Incentive Plan effective at the time the sale was

booked.

       135.       In November 2023, Defendant modified the Commission Sales Incentive Plan, for

FY24, a change that purported to be retroactive to October 1, 2023.

       136.       In effect, the FY24 plan retroactively changed the plans that had been in effect for

prior years, by eliminating the backlogged commissions that the Plaintiffs and others similarly

situated had done the work necessary to earn under prior iterations of the Plan.


                                                    24

          Case 2:24-cv-00046-PP Filed 02/08/24 Page 24 of 37 Document 8
       137.    Since October 1, 2023, commissions have come due on sales made under older

versions of the Commission Sales Plan. Commissions will continue to come due under older

versions of the Plan going forward as well.

       138.    Defendant has breached its employment contracts with its salespersons, including

the Named Plaintiffs and all of their colleagues, by failing to pay commissions according to the

Plan under which those sales were made.

       139.    As a direct and proximate result of Defendant’s breach, the Named Plaintiffs and

all those similarly situated have suffered and will continue to suffer significant economic loss.

       140.    Plaintiff incorporates by reference the foregoing paragraphs of this Complaint.

                    COUNT II – BREACH OF THE IMPLIED DUTY OF
                         GOOD FAITH AND FAIR DEALING

       141.    The Named Plaintiffs repeat the allegations above as if fully set forth herein.

       142.    Defendant established a valid, enforceable contact with the Named Plaintiffs and

all those similarly situated such that in exchange for the salespersons selling Defendant’s goods

and services to its clients, Defendant would pay the commissioned salespersons a commission or

incentive according to the Commission Sales Incentive Plan effective at the time the sale was

booked.

       143.    This employment contract between the Named Plaintiffs (and each of their sales

colleagues) and Johnson Controls implies good faith and fair dealing between the parties, as well

as a duty of cooperation on the part of both parties to the contract.

       144.    By eliminating the backlog and wiping out the incentives that the Named Plaintiffs

had accrued under past incentive and commission plans, Johnson Controls has acted in bad faith

and in violation of the implied covenant of good faith and fair dealing that is binding on both

parties to the employment contract.

                                                 25

          Case 2:24-cv-00046-PP Filed 02/08/24 Page 25 of 37 Document 8
          145.   The Named Plaintiffs have, in good faith, performed their obligations under the

employment contracts that they have with Johnson Controls.

          146.   Johnson Controls’ bad faith action to retroactively change the Plan and the

requirements for the Named Plaintiffs to obtain commission payments that were particularly and

uniquely within Defendant’s control unjustifiably prevents the Named Plaintiffs and others

similarly situated from being able to obtain the benefit of their bargain with Defendant.

          147.   As a result of Johnson Controls’ breach of this implied covenant of good faith and

fair dealing, the Named Plaintiffs and all others similarly situated have suffered damages in an

amount to be determined at trial.

                             COUNT III – UNJUST ENRICHMENT

          148.   The Named Plaintiffs repeat the allegations above as if fully set forth herein.

          149.   The Count is pled in the alternative to Counts I and II, in the event the Court

determines a contract between the Parties does not exist or cover all of the Named Plaintiffs’

claims.

          150.   The Named Plaintiffs and all others similarly situated provided good and valuable

services to Johnson Controls, engaging customers on their need for Defendant’s products and

selling Defendant’s goods and services, all of which contributed to the financial success of Johnson

Controls.

          151.   The Named Plaintiffs and all others similarly situated provided these services based

on the reasonable expectation that they would be compensated fairly and in accordance with the

Plan in effect when they performed the work necessary to make the sale.

          152.   Johnson Controls knowingly accepted and appreciated the benefits of the services

performed by the Named Plaintiffs and all others similarly situated.


                                                  26

            Case 2:24-cv-00046-PP Filed 02/08/24 Page 26 of 37 Document 8
          153.    Johnson Controls is now attempting to retain for itself millions of dollars in

backlogged commissions that were secured by the hard work of the Named Plaintiffs and those

similarly situated, who at the time of the work, had been told by Johnson Controls that they would

receive backlogged commission payments for their work on the projects in the normal course of

those projects.

          154.    Under the circumstances, it would be inequitable for Johnson Controls to retain

those backlogged commissions without providing compensation to the Named Plaintiffs and all

others similarly situated.

 COUNT IV – KANSAS WAGE PAYMENT ACT (Brought by Plaintiffs Novin, Swander,
        Butler, and Begnoche on behalf of a Sub-Class of Kansas Employees)

          155.    Plaintiff Novin, Swander, Butler, and Begnoche repeat the allegations above as if

fully set forth herein.

          156.    Defendant Johnson Controls is the employer of Plaintiffs Novin, Swander, Butler,

Begnoche and those similarly situated under Kansas law.

          157.    K.S.A. § 44-314(a) requires employers such as Defendant to pay their employees,

including Novin, Swander, Butler, and Begnoche “all wages due to the employees of the employer

at least once during each calendar month.”

          158.    The Plaintiffs’ backlogged commissions constitute wages due to the employees

under Kansas law that Johnson Controls has agreed to pay.

          159.    Defendant has willfully failed to pay the backlogged commissions as wages as they

agreed.

          160.    Under K.S.A. § 44-315(b), Defendant is liable to Plaintiffs for the unpaid wages

and a penalty of 1% per day up to an amount equal to 100% of the unpaid wages.



                                                  27

            Case 2:24-cv-00046-PP Filed 02/08/24 Page 27 of 37 Document 8
   COUNT V – MISSOURI WAGE PAYMENT LAW (Brought by Plaintiffs Brown and
              Erker on behalf of a Sub-Class of Missouri Employees)

       161.    Plaintiffs Brown and Erker repeat the allegations above as if fully set forth herein.

       162.    Plaintiffs Brown, Erker, and those similarly situated are sales representatives of

Defendant under Missouri law.

       163.    The written terms of a contract govern when commission payments come due in

Missouri. Mo. Rev. Stat. § 407.912.1.

       164.    Under the terms of the Missouri Plaintiffs’ contracts with Johnson Controls,

commission payments from the sales representatives’ backlogs have come due since October 1,

2023, and continue to come due every month going forward.

       165.    Defendant has failed and continues to fail to pay the Missouri Plaintiffs’

commissions under the terms of their contracts.

       166.    Under Mo. Rev. Stat. § 407.913, Defendant is liable to the Missouri Plaintiffs and

the Sub-Class of Missouri employees for actual damages sustained, an additional amount as if the

sales representative were still earning commission on an annualized pro rata basis, and attorneys’

fees and costs incurred in bringing this action.

        COUNT VI – WISCONSIN WAGE CLAIM (Brought by Plaintiff Klumpers
                  on behalf of a Sub-Class of Wisconsin Employees)

       167.    Plaintiff Klumpers repeats the allegations above as if fully set forth herein.

       168.    Under Wisconsin law, Plaintiff Klumpers and others similarly situated are

employees of Defendant Johnson Controls.

       169.    Wisconsin employees are entitled to receive as wages “remuneration . . . for

personal services, including salaries, commissions . . . and any other similar advantages agreed




                                                   28

          Case 2:24-cv-00046-PP Filed 02/08/24 Page 28 of 37 Document 8
upon between the employer and the employee or provided by the employer as an established

policy.” Wis. Stat. § 109.01(3).

       170.    As evidenced by the terms of the incentive compensation plans and Defendant’s

decades-long agreement with its employees, Defendant both agreed to and had an established

policy of paying its salespersons’ commission under the terms of the incentive compensation plan

in place at the time a sale was made.

       171.    Defendant violated that agreement and policy when it wiped out its Wisconsin

employees’ backlogs at the beginning of FY24.

       172.    Under Wis. Stat. 109.03, as a result of Defendant’s violation, Johnson Controls is

liable to Plaintiff Klumpers and the Wisconsin Sub-Class for the full amount of wages due and

owing, a penalty of up to 50% of the wages due and unpaid, and reasonable costs and expenses

incurred in bringing this action.

 COUNT VII – SOUTH CAROLINA WAGE CLAIM (Brought by Plaintiffs Reis and Zip
              on behalf of a Sub-Class of South Carolina Employees)

       173.    Plaintiffs Reis and Zip repeats the allegations above as if fully set forth herein.

       174.    Under South Carolina law, Reis, Zip, and others similarly situated are employees

of Defendant Johnson Controls.

       175.    South Carolina employees are entitled to receive as wages “all amounts at which

labor rendered is recompensed, whether the amount is fixed or . . . commission basis . . .” S.C.

Code § 41-10-10(2).

       176.    Employers in South Carolina, including Defendant, “shall notify each employee in

writing” of the agreed-upon wages and the time and place of payment, and must “pay all wages

due at the time and place designated.” S.C. Code §§ 41-10-30, 41-10-40.




                                                 29

          Case 2:24-cv-00046-PP Filed 02/08/24 Page 29 of 37 Document 8
        177.   As evidenced by the terms of the incentive compensation plans and Defendant’s

decades-long agreement with its employees, Defendant both agreed to and had an established

policy of paying its salespersons’ commission under the terms of the incentive compensation plan

in place at the time a sale was made.

        178.   Defendant violated that agreement and policy when it wiped out its South Carolina

employees’ backlogs at the beginning of FY24. Defendant has continuously failed to pay

backlogged commissions due as wages under those plans since October 1, 2023.

        179.   Under S.C. Code § 41-10-80(C), as a result of Defendant’s violation, Johnson

Controls is liable to Plaintiffs Reis, Zip, and the South Carolina Sub-Class for three times the

amount of wages due and owing, plus costs and reasonable attorneys’ fees incurred in bringing

this action.

           COUNT VIII – ALABAMA WAGE CLAIM (Brought by Plaintiff Scott
                   on behalf of a Sub-Class of Alabama Employees)

        180.   Plaintiff Scott repeats the allegations above as if fully set forth herein.

        181.   Under Alabama law, Scott and others similarly situated are employees of Defendant

Johnson Controls.

        182.   Alabama sales employees such as Scott are entitled to receive commission

payments per the terms of their incentive contract. Al. Code § 8-24-2(a).

        183.   As evidenced by the terms of the incentive compensation plans and Defendant’s

decades-long agreement with its employees, Defendant both agreed to and had an established

policy of paying its salespersons’ commission under the terms of the incentive compensation plan

in place at the time a sale was made.




                                                  30

          Case 2:24-cv-00046-PP Filed 02/08/24 Page 30 of 37 Document 8
       184.    Defendant violated that agreement and policy when it wiped out its Alabama

employees’ backlogs at the beginning of FY24. Defendant has continuously failed to pay

backlogged commissions due under those plans since October 1, 2023.

       185.    Under Al. Code § 8-24-3, as a result of Defendant’s violation, Johnson Controls is

liable to Plaintiff Scott and the Alabama Sub-Class for three times the amount of wages due and

owing, plus costs and reasonable attorneys’ fees incurred in bringing this action.

          COUNT IX – NEW YORK WAGE CLAIM (Brought by Plaintiff Wahl
                  on behalf of a Sub-Class of New York Employees)

       186.    Plaintiff Wahl repeats the allegations above as if fully set forth herein.

       187.    Under New York law, Wahl and others similarly situated are employees of

Defendant Johnson Controls.

       188.    Sales Representative employees such as Wahl are required to be paid all monies

“earned or payable in accordance with the agreed terms of employment” no less frequently than

monthly. N.Y. Lab. Law § 191.

       189.    As evidenced by the terms of the incentive compensation plans and Defendant’s

decades-long agreement with its employees, Defendant both agreed to and had an established

policy of paying its salespersons’ commission under the terms of the incentive compensation plan

in place at the time a sale was made.

       190.    Defendant violated that agreement and policy when it wiped out its New York

employees’ backlogs at the beginning of FY24. Defendant has continuously failed to pay

backlogged commissions due as wages under those plans since October 1, 2023.

       191.    Under N.Y. Lab. Law § 198, unless the employer provides a good faith basis for

non-payment, an employer failing to pay commissions due and owing is liable for the commission

owed and liquidated damages equal to one hundred percent of the commission owed and attorney’s

                                                 31

          Case 2:24-cv-00046-PP Filed 02/08/24 Page 31 of 37 Document 8
fees. The employer is liable for up to three hundred percent of the commissions owed if the

withholding was willful.

       192.    Johnson Controls willfully, and without a good faith basis, withheld commissions

owed to Wahl and those similarly situated. Therefore, Wahl and the New York Sub-Class are

entitled to up to three hundred percent of the commissions owed, plus costs and reasonable

attorneys’ fees incurred in bringing this action.

         COUNT X – INDIANA WAGE CLAIM (Brought by Plaintiff Huntzinger
                   on behalf of a Sub-Class of Indiana Employees)

       193.    Plaintiff Huntzinger repeats the allegations above as if fully set forth herein.

       194.    Under Indiana law, Huntzinger and others similarly situated are employees of

Defendant Johnson Controls.

       195.    Indiana employees are entitled to receive as wages “all remuneration,” “including

but not limited to commissions.” In. Code §§ 22-4-1, 22-4-2.

       196.    Employers in Indiana, including Defendant, “shall pay each employee at least

semimonthly or biweekly, if requested, the amount due the employee.” In. Code § 22-2-5-1.

       197.    As evidenced by the terms of the incentive compensation plans and Defendant’s

decades-long agreement with its employees, Defendant both agreed to and had an established

policy of paying its salespersons’ commission under the terms of the incentive compensation plan

in place at the time a sale was made.

       198.    Defendant violated that agreement and policy when it wiped out its Indiana

employees’ backlogs at the beginning of FY24. Defendant has continuously failed to pay

backlogged commissions due as wages under those plans since October 1, 2023.

       199.    Under In. Code § 22-2-5-2, as a result of Defendant’s violation, Johnson Controls

is liable to Plaintiff Huntzinger and the Indiana Sub-Class for the wages due and owing, liquidated

                                                    32

          Case 2:24-cv-00046-PP Filed 02/08/24 Page 32 of 37 Document 8
damages in the amount of 10% per day up to double the amount of wages due, plus costs and

reasonable attorneys’ fees incurred in bringing this action.

         COUNT XI – COLORADO WAGE CLAIM (Brought by Plaintiff Roberts
                  on behalf of a Sub-Class of Colorado Employees)

       200.    Plaintiff Roberts repeats the allegations above as if fully set forth herein.

       201.    Under Colorado law, Roberts and others similarly situated are employees of

Defendant Johnson Controls.

       202.    Colorado employees are entitled to receive as wages “commissions earned for labor

or services performed in accordance with the terms of any agreement between an employer and

employee. Colo. Rev. Stat. § 8-4-101(14).

       203.    Employers in Colorado, including Defendant, must pay all wages due in “regular

pay periods of no greater duration than one calendar month or thirty days.” Colo. Rev. Stat. § 8-4-

103.

       204.    As evidenced by the terms of the incentive compensation plans and Defendant’s

decades-long agreement with its employees, Defendant both agreed to and had an established

policy of paying its salespersons’ commission under the terms of the incentive compensation plan

in place at the time a sale was made.

       205.    Defendant violated that agreement and policy when it wiped out its Colorado

employees’ backlogs at the beginning of FY24. Defendant has continuously failed to pay

backlogged commissions due as wages under those plans since October 1, 2023.

       206.    Under Colo. Rev. Stat. §§ 8-4-111 and 8-4-109, as a result of Defendant’s violation,

Johnson Controls is liable to Plaintiff Roberts and the Colorado Sub-Class for earned, vested, and

determinable commissions, and a penalty equal to the greater of: the sum of 125% of the amount

of such wages up to and including $7,500, and 50% of the amount of such wages and compensation

                                                 33

          Case 2:24-cv-00046-PP Filed 02/08/24 Page 33 of 37 Document 8
due in excess of $7,500; or the employee’s average daily earnings for each day, not to exceed ten

days, until such payment or other settlement is made.

        207.   Johnson Controls willfully and without a good faith basis withheld commissions

owed to Roberts and others similarly situated. As such, the penalty outlined in Paragraph 206

above should be increased by fifty percent.

            COUNT XII – HAWAII WAGE CLAIM (Brought by Plaintiff Garma
                    on behalf of a Sub-Class of Hawaii Employees)

        208.   Plaintiff Garma repeats the allegations above as if fully set forth herein.

        209.   Under Hawaii law, Garma and others similarly situated are employees of Defendant

Johnson Controls.

        210.   Hawaii employees are entitled to receive as wages all “compensation for labor or

services rendered . . . whether the amount is determined on a time, task, piece, commission, or

other basis.” Haw. Rev. Stat. § 388-1.

        211.   Employers in Hawaii, including Defendant, shall pay “all wages due . . . at least

twice during each calendar month, on regular paydays designated in advance.” Haw. Rev. Stat.

§ 388-2.

        212.   As evidenced by the terms of the incentive compensation plans and Defendant’s

decades-long agreement with its employees, Defendant both agreed to and had an established

policy of paying its salespersons’ commission under the terms of the incentive compensation plan

in place at the time a sale was made.

        213.   Defendant violated that agreement and policy when it wiped out its Hawaii

employees’ backlogs at the beginning of FY24. Defendant has continuously failed to pay

backlogged commissions due as wages under those plans and under Hawaii law since October 1,

2023.

                                                 34

           Case 2:24-cv-00046-PP Filed 02/08/24 Page 34 of 37 Document 8
       214.     Under Haw. Rev. Stat. §§ 388-10 and 388-11, as a result of Defendant’s violation,

Johnson Controls is liable to Plaintiff Garma and the Hawaii Sub-Class for the amount of wages

due and owing, an additional amount equal to the amount of unpaid wages, and interest accruing

at a rate of 6% per year from the date the wages were due, costs and reasonable attorneys’ fees

incurred in bringing this action, and a penalty of $100 per violation to be deposited in the labor

law enforcement special fund.

                                    PRAYER FOR RELIEF

       WHEREFORE, the Named Plaintiffs, on behalf of themselves and all others similarly

situated, request that judgment be entered in their favor and against Defendant Johnson Controls

as follows:

       A.       An Order certifying this matter as a Class Action pursuant to Fed. R. Civ. P. 23 on

behalf of a nationwide class of commissioned salespersons employed by Defendant at the time of

the transition from the FY23 to FY24 Commission Sales Incentive Plan, along with sub-classes of

employees grouped by state for Counts IV-XII; appointing the Named Plaintiffs as class

representatives for the Class and any Sub-Classes; and that notice of the pendency of this action

be provided to members of the Class;

       B.       An order awarding the Named Plaintiffs and the Class actual damages in an amount

to be proven at trial based on Johnson Controls’ breach of contract and breach of the covenant of

good faith and fair dealing;

       C.       An Order providing relief in favor of the Named Plaintiffs and the Class in the

amount of the benefits received by Johnson Controls and by which Johnson Controls was unjustly

enriched;




                                                35

            Case 2:24-cv-00046-PP Filed 02/08/24 Page 35 of 37 Document 8
       D.        Providing declaratory relief finding that Johnson Controls is required to pay

commissions to the Named Plaintiffs and the Class going forward in accordance with the terms of

the Parties’ agreement and course of dealing, as set forth in the Commission Sales Incentive Plan

under which the commissioned salespersons sold Defendant’s products and services;

       E.        An Order awarded all statutory relief requested on behalf of the sub-classes in

Counts IV-XII;

       F.        For pre- and post-judgment interest; and

       G.        For such other and further relief as the Court deems just and proper under the

circumstances.

                                 DEMAND FOR JURY TRIAL

       Plaintiffs hereby demand a jury trial on all causes of action and claims with respect to

which they have a right to trial by jury.

       Dated: February 8, 2024



                                              HKM EMPLOYMENT ATTORNEYS LLP

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                                                 36

            Case 2:24-cv-00046-PP Filed 02/08/24 Page 36 of 37 Document 8
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                             37

Case 2:24-cv-00046-PP Filed 02/08/24 Page 37 of 37 Document 8
